    Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 1 of 22

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Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 2 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 3 of 22

                                                              CLERK OF SUPERIOR COURT
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Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 4 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 5 of 22

                                                              CLERK OF SUPERIOR COURT
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Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 6 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 7 of 22

                                                              CLERK OF SUPERIOR COURT
                                                              BARTOW COUNTY, GEORGIA
                                                            SUCV2023001640
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Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 8 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 9 of 22

                                                              CLERK OF SUPERIOR COURT
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                                                            SUCV2023001640
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Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 10 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 11 of 22

                                                              CLERK OF SUPERIOR COURT
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                                                               JAN 02, 2024 10:40 AM
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 12 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 13 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 14 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 15 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 16 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 17 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 18 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 19 of 22

                                                              CLERK OF SUPERIOR COURT
                                                              BARTOW COUNTY, GEORGIA
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Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 20 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 21 of 22
Case 4:24-cv-00012-WMR   Document 1-2   Filed 01/10/24   Page 22 of 22
